                                                                                                  Crim-Mot hrg (Dec-2008)
                                                        HONORABLE: Robert N. Chatigny
                           DEPUTY CLERK     Glynn, T.              RPTR/ECRO/TAPE Warner, D.
TOTAL TIME: 2               hours 56 minutes       USPO                   INTERPRETER
                              DATE: 11/8/17           START TIME: 2:04             END TIME: 5:00
                                                   LUNCH RECESS FROM:                    TO:
                                        RECESS (if more than ½ hr)    FROM:              TO:

CRIMINAL NO. 15cr155 RNC                           Deft # 1



                   UNITED STATES OF AMERICA                    Dave Novick/Heather Cherry/Liam Brennan
                                                                                   AUSA
                                 vs
                                                                Petrillo/Lester/Joshua Klein/Marc Mukasey/J.Sklaroff
                   Ross Shapiro, Michael Gramins               Defendant’s Counsel        CJA     Retained        PDA



                                       HEARING ON CRIMINAL MOTIONS

 ......# 400       Deft Shapiro, Gramins Motion to Dismiss                          granted denied advisement
 ......# 401       Deft Shapiro,Gramins      Motion for Acquittal                   granted denied advisement
 ......# 403       Deft Shapiro,  Gramins    Motion for Acquittal                   granted denied advisement
 ......# 440       Deft Shapiro, Gramins     Motion for Acquittal                   granted denied advisement
 ......#           Deft                      Motion                                 granted denied advisement
 ......#           Deft                      Motion                                 granted denied advisement
 ......#           Deft                      Motion                                 granted denied advisement
 ......#           Deft                      Motion                                 granted denied advisement
 ......#           Deft                      Motion                                 granted denied advisement
 ......#           Govt’s motion                                                    granted denied advisement
 ......#           Govt’s motion                                                    granted denied advisement
 ......#           Govt’s motion                                                    granted denied advisement
  ......#          Govt’s motion                                                    granted    denied advisement
 .......#          Deft                oral motion                                  granted denied advisement
 .......#          Deft                oral motion                                  granted denied advisement
 ......#           Deft                oral motion                                  granted denied advisement
 ......#           Govt’s oral motion                                               granted    denied advisement
 ......#           Govt’s oral motion                                               granted denied advisement
 ...............   Brief(s) due                 Response(s) due                  Replies due
 ...............   Bond      set at $                reduced to $                  Non-surety Surety PR
 ...............   Bond      revoked     reinstated   continued modified
 ...............   Defendant REMANDED to custody
 ...............   Competency Hearing held           continued until              at
 ...............                                   hearing continued until               at
 ...............   Court finds defendant                              competent    incompetent
 ...............   Court orders defendant                          to undergo psychiatric evaluation
 ...............   Motion Hearing continued until                              at
 ...............   SEE PAGE II for additional entries
                 DOCUMENTS FILED IN OPEN COURT

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                  MISCELLANEOUS PROCEEDINGS
